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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MARY M. FRENCH, Bar #126643
     Supervising Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    JOSE ANGUIANO
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. CR-S-08-0417 MCE
                                     )
12                  Plaintiff,       )      STIPULATION AND ORDER CONTINUING
                                     )      STATUS CONFERENCE
13        v.                         )
                                     )
14   JOSE ANGUIANO, et al.,          )      Date: March 26, 2009
                                     )      Time: 9:00 a.m.
15                  Defendants.      )      Judge: Morrison C. England, Jr.
     _______________________________ )
16
17         It is hereby stipulated between the parties, Jason Hitt, Assistant
18   United States Attorney, attorney for plaintiff; Danny D. Brace, Jr.,
19   attorney for defendant FERNANDO MURGUIA-OCHOA; Mary M. French,
20   Supervising Assistant Federal Defender, attorney for defendant JOSE
21   ANGUIANO; Dan Frank Koukol, attorney for MARIO SARRANO-ABURTO; and,
22   Thomas A. Johnson, attorney for JOSHUA ORTEGA, that the Status
23   Conference hearing date of February 26, 2009, be vacated and a new
24   Status Conference hearing date of March 26, 2009, at 9:00 a.m. be set.
25         The continuance is requested because defense counsel is in the
26   process of conducting investigation and research, and needs more time
27   to complete these tasks.
28   ///
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1         It is further stipulated that the period from February 26, 2009,
2    through and including March 26, 2009, should be excluded pursuant to 18
3    U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 based upon continuity of
4    counsel and defense preparation.
5    Dated: February 24, 2009                Respectfully submitted,
6                                            DANIEL J. BRODERICK
                                             Federal Defender
7
                                             /s/ Mary M. French
8
                                             MARY M. FRENCH
9                                            Supervising Assistant
                                             Federal Defender
10                                           Attorney for Defendant
                                             TAMARA ALLEN
11
12   Dated: February 24, 2009                /s/ Mary M. French for
                                                 Danny D. Brace, Jr.
13
                                             DANNY D. BRACE, JR.
14                                           Attorney for Defendant
                                             FERNANDO MURGUIA-OCHOA
15
16   Dated: February 24, 2009                /s/ Mary M. French for
                                                 Dan Frank Koukol
17
                                             DAN FRANK KOUKOL
18                                           Attorney for Defendant
                                             MARIO SARRANO-ABURTO
19
20   Dated: February 24, 2009                /s/ Mary M. French for
                                                 Thomas A. Johnson
21
                                             THOMAS A. JOHNSON
22                                           Attorney for Defendant
                                             JOSHUA ORTEGA
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     Stip and Order                          2
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1    Dated: February 24, 2009                LAWRENCE G. BROWN
                                             Acting United States Attorney
2
                                             /s/ Mary M. French for
3                                                Jason Hitt
4                                            JASON HITT
                                             Assistant U.S. Attorney
5
6                                       O R D E R
7    IT IS SO ORDERED.
8
      Dated: February 25, 2009
9
10                                         _____________________________
                                           MORRISON C. ENGLAND, JR.
11
                                           UNITED STATES DISTRICT JUDGE
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     Stip and Order                          3
